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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION


 ASHLEY N. HELLUMS,

                                                         Case No. 3:21-cv-00012-JD-MGG
 Plaintiff,
                                                         Honorable John E. DeGuilio
 v.

 EXETER FINANCE, LLC,

 Defendant.

              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff, ASHLEY N.

HELLUMS, and the Defendant, EXETER FINANCE, LLC, through their respective counsel that

the above-captioned action is dismissed, with prejudice, against EXETER FINANCE, LLC,

pursuant to settlement and Federal Rule of Civil Procedure 41. Each party shall bear its own costs

and attorney fees.


Dated: June 15, 2021                                Respectfully Submitted,

ASHLEY N. HELLUMS                                   EXETER FINANCE, LLC

/s/ Nathan C. Volheim                               /s/ Alan D. Leeth (with consent)
Nathan C. Volheim (#6302103)                        Alan D. Leeth
Counsel for Plaintiff                               Counsel for Defendant
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                                   CERTIFICATE OF SERVICE


          I hereby certify that I today caused a copy of the foregoing document to be electronica lly

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                               /s/ Nathan C. Volheim
                                                               Nathan C. Volheim
